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                                                          May 23.2011


   Honorable Judge William H. Walls
   United States Senior District Judge
   King Building, Courtroom 4D
   Newark. New Jersey 08101-2097

   ADJOURNMENT REQUEST FOR VOLUNTARY SURRENDER


                                                  RE: United States v. Hilda Tavarez
                                                      Crim. Docket No: 06-00619-003


   Dear Judge Walls:

       As you are aware I reprcsenr the ahove iefrenccd defendant who is scheduled to
   Voluntarily Surrender on June 1 3. 2011 At this lime I respectfully request that the
                                              .




   surrender date he changed to August 1. 2011. 1 his request is made as the defendant is
   scheduled to undergo surgery on .June 8, 2011 at the Lutheran Medical Center (see
   attached Doctor’s Note). It appears that after the surgery an additional three to four weeks
   is necessary for her recovery.

       Thank you for your anticipated cooperation in this matter. If you have any questions
   please feel free to contact my office at the number listed above.



                                                         Sincerely,
                                                           )


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  CC: \LS\\iARTO:i
